                            UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 WINDOW WORLD OF BATON                               §
 ROUGE,LLC                                           §
                                                     §
               Plaintiff,                            §
                                                     §
 v.                                                  §           Case No.
                                                     §
 COLONY INSURANCE COMPANY                            §
 AND HALLMARK SPECIALTY                              §
 INSURANCE COMPANY                                   §
                                                     §
               Defendants.                           §

                                                APPENDIX

 A                                                                     "
      'Jl;ib                            Docurnem                            A1>p. No.
         1.        List of all parties in this case (including their         02-04
                   party type a.nd which parties have requested a
                   jury trial); the current status of the removed
                   case (including the name and address of the
                   court from which the case was removed); and
                   the name, bar number, address and telephone
                   number of each oartv, s attorneys
        2.         Copy of the state court dockel sheet                      05-07

        3,         All executed process in this matter                       08-11

        4.         All pleadings asserting causes of action and all          12-21
                   answers to such pleadings




APPENDIX TO DEFENDANTS' NOTICE OF REMOVAL TO FEDERAL COURT                               Pagel


                                                                                     APP. 001
TABl




       APP. 002
                          UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 WINDOW WORLD OF BATON                             §
 ROUGE,LLC                                         §
                                                   §
             Plaintiff,                            §
                                                   §
 v.                                                §        Case No.
                                                   §
 COLONY INSURANCE COMPANY                          §
 AND HALLMARK SPECIALTY                            §
 INSURANCE COMPANY                                 §
                                                   §
             Defendants.

                                 LIST OF PARTIES AND ATTORNEYS

       Pursuant to Rule CV-81 of the Local Civil Rules of the United States District Court for the

Eastern District of Texas, Defendant Colony Insurance Company ("Colony") submits the

following information:



 Plaintiff                Window World of Baton Rouge, LLC

 Counsel.fo r             Gwen E. Bhella
 Plaintiff                State Bar No. 24046632
                          CALHOUN, BHELLA & SECHREST, LLP
                          325 N. Saint Paul Street, Suite 2300
                          Dallas, Texas 75201
                          (214) 981-9200 Telephone
                          (214) 981-9203 Facsimile
                          gbhella@cbsattomeys.com


 Defendants               Colony Insurance Company
                          Hallmark Specialty Insurance Company

Counsel for               Stephen A. Melcndi
Defendant Colony          State Bar No. 24041468
Insurance                 Matthew Rigney
ComJ!any                  State Bar No. 24068636

LIST OF PARTIES AND ATTORNEYS                                                               Pagel


                                                                                     APP. 003
                     Jibril Greene
                     State Bar No. 24093774
                     TOLLEFSON BRADL,EY MITCHELL & MELENDJ, LLP
                     2811 McKinney Avenue, Suite 250 West
                     Dallas, TX 75204
                     (214) 665-0100 Telephone
                     (214) 665-0199 Facsimile
                     stephenm@tbmmlaw.com
                     mattr@tbmmlaw.com
                     jibrilg@tbmmlaw.com

 Status of Removed   Pending before tbe 296th Judicial District Court of Collin County, Texas
 Case


 Court from Which    296th District Court
 Removed             Russell A. Steindam Courts Building
                     2100 Bloomdale Road, Suite 20012
                     McKinney, Texas75071

 Request for Jury    No party has submitted a jury demand at :this time.
 Trial




LIST OF PARTIES AND ATTORNEYS                                                           Pagel


                                                                                  APP. 004
TAB2




       APP. 005
(http://www.collincountytx.gov)



  Back to Case Search Results (/JudicialRecords/Case/Search?
  searchType=Attorney&caseTypes=CR%2CCV%2CFAM%2CPR&nodes=7 &page=1 &searchCriteria=% 7CMelendi% 7C)



  Case Details
   Case History
   Case Number
   296-06567-2018
   Date Filed
   12/13/2018
   Case Type
   Consumer/Commercial/Debt
   Status
   Pending
   Style
   Window World of Baton Rouge, LLC vs. Colony Insurance Company and Hallmark Specialty Insurance Company
   Judicial Officer
   Roach, John R., Jr. in 296th District Court


   Parties
   Type                  Name                    DOB                Attorney           Address
   Defendant             Colony Insurance                          Stephen A Melendi
                         Company
   Defendant             Hallmark Specialty                        Pro Se
                         Insurance
                         Company
   Plaintiff             Window World of                           Gwen E. Shella
                         Baton Rouge, LLC

   Case Events
   Dato             Event
   12/13/2018      Plaintiffs Original Petition (OCA) $298.00
   12/14/2018      Request for Citation $8.00
   12/14/2018      Citation
   12/17/2018      Request for Citation by Certified Mail $83.00
   12/17/2018      Citation
   12/26/2018      Certified Green Card Returned                                                      Details
  01/14/2019       Original Answer                                                                    Details




                                                                                                 APP. 006
 Financial Summary
 Party Type                  Charges                      Payments                      Balance
 Plaintiff                   $389.00                      $389.00                       $0.00

 Transactions
 Date           Amount
 12/1412018    $306.00                                                                                 Details
 12/14/2018    ($306.00)                                                                               Details
 12/17/2018    $83.00                                                                                  Details
 12/17/2018    ($83.00)                                                                                Details
Back to Case Search Results (/JudicialRecords/Case/Search?
searohType=AUorney&caseTypes=CR%2CCV%2CFAM%2CPR&nodes=7&page=1&searchCriteria=%7CMelendi%7C)

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                   Privacy & Accessibility (http://www.colllncountytx.gov/Page$/privacy.aspx)




                                                                                                  APP. 007
TAB3




       APP. 008
                                                CITATION BY MAILING
                                                THE STATE Or TEXAS
                                                     296-06567-2018

 Window Wurld of Baton Rouge, LLC vs. Colony·                                                                          2961h District Cou1i
 Insurance Company and Hallmark Specialty Insurance
 Company
                                                                                                                  Of Collin Ccunty. Texas


 NOTICE TO DEPENDANT: ''You have been sued. You may employ an al!orncy. If you or your actorncy docs nol
 file ,i written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration
 of twenty days after you were served this citation and petition. a default judgment may be taken against you.''

 TO: Colony Insurance Company
 By Serving Texas Department of Insurance
 C<)iony Insurance Company
 PO Box 460911
 San Antonio TX 78246, Defendant

You are commimded to appear by filing a written answer to PlaintirPs Original Petition at or before ten o'clock A.M.
on the Monday next after the expiration of twenty days alter the date of service of this citation before the 296th District
Court of Collin County. Texas at the Courthouse of said County in McKinney, Texas.
Said Plaintiffs Petition was filed in said court, by Gwen E Bhella 325 N Saint Paul St Suite 2300 Dallas TX 75201
(Attorney for Plaintiff or Plaintiffs), on the 13th day of December.2018.

Issued and given under my hand and seal of said Couti at McKinney, Texas, on this the 17th day of December, 2018.

                                                                          ATTEST: Lynne Finley, District Clerk
                                                                                          Collin County. Texas
                                                                                     Collin County Cow1houst
                                                                                         2100 B!oomdiilc Road
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The law prohibits the Judge and the clerks from giving legal advice, so please do not seek legal advice. /\ny questions
you have should be directed to an attomey,




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                           APP. 011
TAB4




       APP. 012
                                                                           Filed: 12113/2018 4:42 PM
                                                                           Lynne Finiey
                                                                           Dist,ici Clerk.
                                                                           Collin County, Texas
                                                                           By Erika Ruiz Deputy
                                                                           Envelope ID 29736431
                               CAl1SE NO. 296-06567-2018

 WINDOW WORLD OF BATON ROUGE,                        §            IN THE DISTRICT COURT
 LLC                                                 §
                                                     §
                                                     §
 Plaintiff;                                          §
                                                     §
 vs.                                                 §          _ _ JUDICIAL DISTRICT
                                                     §
 COLONY INSURANCE COMPANY                            §
 AND HAU.MARK SPECIALTY                              §
 INSURANCE COMPANY.                                  §
                                                     §
       Defendants.                                   §            COLLIN COUNTY, TEXAS

                            PLAINTIFFS' ORIGINAL PETITION

          COMES NOW the Window World of Baton Rouge, LLC (''Window World") and tiles

this Original Petition against Defendants Colony Insurance Company and Hallmark Specialty

 Insurance Company. and respectfully show as follows:

                                                I.
                                           PARTIES

          I.     Plaintiff Window World of Baton Rouge, LLC is a Louisiana limited liability

company doing business in the State of Texas.

          2.    Defendant Colony Insurance Company (''Colony'') is an entity incorporated under

the laws of Virginia but doing business in the State of Texas. Colony Insurance may be served

through the Texas Department of [nsurance by certifled mail to the following address: Colony

[nsurancc Company, P.O. Box 460911, San Antonio, Texas 78246.

         3.     Defendant Hallmark Specialty Insurance Company (·'Hallmark") is a surplus lines

carrier organized under the State of Texas with its principal place of business in San Antonio,

Texas. Hallmark may be served through its registered agent for service of process, Donald E.

Meyer, 7550 W. IH-10, Suite 1400, San Antonio, Texas 78229.



                                                                   ORIGINAL PETITION - PAGE I




                                                                                           APP. 013
                                                  IV.
                                               VENUE

        . 4.      Venue is proper in Collin County. Texas under Section 15.002(a)(I) of the Texas

 Civil Practice & Remedies Code because a substantial number of the events or conditions giving

 rise to the claims occurred here.


                                                  V.
                                     FACTUAL BACKGROUND

         5.       On or about June 28, 2017, Kevin and Amy Long signed a contract with Window

World for the purchase of windows and window installation at IO I l Beechwood Drive, Murphy,

Collin County. Texas 75094.

        6.        Window World subcontracted lhe installation of the windows to Leticia Disatis by

entering into a contract on August 3, 2017.

        7.        Following installation, the Longs noticed issues relating to water intrusion around

the windows. which ultimately resulted in water damage to drywall, structural damage to the

wall, damage to hardwood flooring, and damage to the window trim and casings.

        8.        Window World made an insurance daim with its insurer, Colony Insurance

Company. for indemnity and defense relating to the Longs' claim,

        9.        Colony Insurance had issued Commercial General Liability Policy No. 103 OL

0010436-02 to Window World with a policy period from July I, 2017 to July l. 2018 . The

policy was a renewal of Commercial General Liability Policy No. l 03 GL 0010436-0 I with a

policy period from July I, 2016 to July I. 2017. Window World paid $182,091.00 in premiums

for the policy.




                                                                       ORIGINAL PETITION· PAGE 2




                                                                                            APP. 014
         I 0.    After tendering the claim to Colony, Colony made a demand on the installer's

 insurer, Hallmark Specialty Insurance Company, for indemnity and defense on behalf of

 Window World on or about March 13.2018.

        11.      Hallmark had issued Commercial General Liability Policy No. 042405995-02

 (the "Hallmark Policy•·) to Leticia Disatis with an original policy period from October 8, 2016 to

 October 8, 2017.

        12.      Jlallmark declined to provide Window World a defense or indemnity in

 connection with the Longs' claim via a lclter dated April 17, 20 l 8, contending that it had

terminated the policy. However, Hallmark's purported notice of termination did not comply

with Texas Insurance Code section 551.053. and was therefore of no effect.           Despite this.

Hallmark has continued to refuse to indemnify Window World.

        13.     During this time, Colony Insurance communicated with the Longs regarding a

possible resolution of their claims but refused to negotiate in good faith and ultimately became

unreachable.

        14.     Because of Colony Insurance's failure to properly handle the claim, after much

negotiation, in July 2018. Window World settled the Longs' daim for $49,500. The Longs

assigned all of their claims to Window World as part of the settlement.

       1S.      Window World made multiple written demands to Colony Insurance for

indemnity, including in August 2018, September 2018. and November 2018. Colony has failed

to respond.


                                                    VJ.
                                     CAUSES OF ACTION

A.                                 li;"Jllnrn rt· ln. 11 ra nc

       16.      The preceding paragraphs are incorporated herein by reference.


                                                                     ORIGINAL PETITION - PAGE 3




                                                                                          APP. 015
         17.     Hallmark issued a valid policy of inst1rance to Window World subcontractor

 Leticia Oesatis (the ''I fallmark Policy").

         18.     Window World was an additional insured underthe Hallmark Policy.

         19.     Hallmllrk refused to defend and indemnify Window World pursuant to the terms

 of the Hallmark Policy.

        20.      Hallmark breached the provisions of its policy.

        21.     As a result, Plaintiff has been damaged in the amount of $49,500.

        22.     Additionally, Plaintiff has had to retain an attorney and therefore seeks reasonable

 and necessary attorneys' fees.

 8.                                   ..olofl\' lnsur1111ce

        23.     The preceding paragraphs are incorporated herein by reference.

        24.     Colony issued a valid policy of insurance to Window World.

        25.     The tenns of the Colony Policy required Colony to defend and indemnify

Window World in the event ()fa claim.

        26.     Colony failed to properly defend Window World against the allegations made by

the Longs.

        27.     Further, following resolution of the claims with the Longs, Colony has failed to

indemnify Window World for the $49,500 in payments made to the Longs for the claim and has

failed to respond to demands for indemnification.

       28.     Colony has breached the provisions of its policy.

       29.     As a result. Plaintiff has been damaged in the amount of$49,500.

       30.     Additionally, Plaintiff has had to retain an attorney and therefore seeks reasonable

and necessary attorneys' fees.




                                                                     ORIGINAL PETITION. P...\GE 4




                                                                                           APP. 016
  C.       llr <-1th ul'lh · Dutv ofGoocl ' nilh <1g11i11. t Colon,· Ins urance

          31.      The preceding raragraphs are incorporated herein by reference.

          32.      Texas law recognizes a duty of good faith and fair dealing in the insurnncc

 contexl. Arnold~\ Nat 'l C11ry. Mur. Fire Ins. Co .. 725 S.W.2d 165, 167 (Tex. 1987). The duty

 arises from the special relationship that is created by the contrncl between the insurer and the

 insured. Id.; see nlso Viles v. Security Nat'/ Ins. Co., 788 S. W.2d 566, 567 (Tex. 1990)

 (recognizing that the duty arises "not from the terms of the insurance contract, but from an

 obligation imposed in law" as a result of the special relationship).

          33,      Colony l11surance owed a duty of good faith and fair dealing lo Plaintiff: including

 a duty not to unreasonably delay in the payment of a daim.

         34.      Colony Insurance breached its duty of good faith and fair dealing to Plaintiff, by

 among other things, failing to indemnify Plaintiff for the Longs· claim; failing to negotiate and

 communicate with the Longs on hehalf of Window World in good faith; and failing and refusing

to indemnity. deny. or offer any explanation in regards lt~ why it has not indemnified Window

World.

         35.      There is no reasonable basis for Colony's actions or inactions.

         36.      As a result of Colony's breach of its duty of good faith and fair dealing owed to

Plaintiff. Plaintiff has been damaged in the amount of $49,500.

         3 7.     Additionally, Plaintiff has been forced to incur reasonable and necessary

attorneys' fees as a result of Colony's actions and inactions, for which Plaintiff seeks recovery.

D.       Un'l ch f Prom(ll Pn •mcllt ...·ru t1il l' by Co lon

         38.     The preceding paragraphs are incorporated herein by reference,

         39.     Chapter 542 of the Texas Insurance Code requires insurers to promptly pay all

claims to its insureds.


                                                                                  ORIGINAL PETITION· PAGE 5




                                                                                                    APP. 017
            40.     Plaintiff provided written notice of the claim to Colony in February 2018.

            41.     After Colon)" failed to properly investigate and settle the claim. and after Window

 World settled the claim for $49,500, Window World made a demand upon Colony for

 indemnification in writing on August 6,2018. Colony did not acknowledge receipt of the claim.

 in violation of Texas Insurance Code section 542.055(a)( I).

           42.     Having not heard from Colony, on September 12, 2018, Window World made

 another written demand to Colony Insurance. Colony did not acknowledge receipt of this second

 demand for 29 days, on October 11, 2018, in violation of Texas Insurance Code section

 542.055(a)(I ).

           43.     On October 11, 2018, Colony requested the original demand lelter and basis for

the claim, which was provided to them promptly on October 16, 2018.

           44.     Colony never requested any additional items, statements, or forms from Window

World, and certainly did not do so within 15 days of notice of the claim, as required by Texas

fnsurance Code Chapter 542.

           45,     Colony never notified Window World whether it accepted or rejected the claim,

nor did it request an extension of time, in violation of Texas Insurance Code section 542.056(a)

and (d).

        46.        Colony has. to this date, failed to pay the claim. More than 60 days have passed

since submission of the claim to C()lony.          Colony is therefore also in violation of Texas

Insurance Code section 542.058(a).

       4 7.       As a result of Colony's violations of the Prompt rayment Statute, Plaintiff is

entitled to recovery of the $49,500, plus 18% interest, plus reasonable attorneys' fees and costs.




                                                                         ORIGINAL PETITION - PAGE 6




                                                                                             APP. 018
                                 PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiffs request:

     a.    Economic damages;

     b.    Statutory Penalties and Interest

     c.    Reasonable attomeys·1 fees;

     d.    Costs of Court;

     c.    Prc-.judgment and post-judgment interest; and

     f.    All other re.lief to which Plaintiff may be justly entitled,

                          Respectfully subn1med,



                          Isl <jw ,,, Bhella
                          Gwen E. Bhcl la
                          State Bar No. 2404.6632
                          gbhella@chsattomeys.corn
                          Calhoun, Bhella & Sechrest, LLP
                          325 N. Saint Paul Stree~ Suite 2300
                          Dallas. TX 75201
                          214-981-9200 Telephone
                          214-98H>20.3 Facsimile

                          ATTORNEYS FOR PLAINTIFF




                                                            ORIGJ'NAL PETITION· PAG13 7




                                                                               APP. 019
                                                                               Filed; 1/14/201910:11 AM
                                                                               Lynne Finley
                                                                               District Clerk
                                                                               Collin County, Texas
                                                                               By Brittany Tucker Deputy
                                                                               Envelope ID: 3034511'7
                                   CAUSE NO. 296-06567-2018

WINDOW WORLD OF BATON ROUGE,                           §      IN THE DISTRICT COURT Of'
LLC                                                    §
    Plaintiff,                                         §
                                                       §
v.                                                     §          COLLIN COUNTY, TEXAS
                                                       §
COLONY INSURANCE COMPANY                               §
AND HALLMARK SPECIALTY                                 §
INSURANCE COMPANY                                      §
     Defendants.                                       §         296th JUDICIAL DISTRICT


        DEFENDANT COLONY INSURANCE COMPANY'S ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:
      Defendant Colony Insurance Company ("Defendant" and/or "Colony") files this, its
Answer, as follows:

                                                  I.
                                       GENERAL DENIAL

        Pursuant to Texas Rule of Civil Procedure 92, Colony generally denies the allegations

contained in Plaintiff Window World of Baton Rouge, LLC's ("Plaintiff") Original Petition and

demands strict proof by a preponderance of the evidence of all Plaintiffs allegations.


                                              PRAYER

       Colony respectfully prays that Plaintiff take nothing by reason of her suit herein, and that

Colony be awarded all such other and further relief as to which it may otherwise be entitled.

                                               Respectfully submitted,

                                               Isl Stephen A. Melendi
                                              Stephen A. Melendi
                                              State Bar No. 24041468
                                              stephenm@tbmmlaw.com
                                              Matt Rigney
                                              State Bar No. 24068636
                                              mattr@tbmmlaw.com

DEFENDANT COLONY INSURANCE COMPANY'S ORIGINAL ANSWER




                                                                                             APP. 020
                                               Jibril Greene
                                               State Bar No. 24093774
                                               jibrilg@tbmmlaw.com

                                               TOLLEFSON BRADLEY MITCHELL     & MELENDI, LLP
                                               2811 McKinney Avenue, Suite 250 West
                                               Dallas, Texas 75204
                                               (214) 665-0100 Telephone
                                               (214) 665-0199 Facsimile

                                               ATTORNEYS FOR DEFENDANT COLONY
                                               INSURANCE COMPANY



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served
upon counsel ofrecord pursuant to the Texas Rules of Civil Procedure on this 14th day of January,
2019.
        Gwen E. Bhella
        Calhoun, Bhella, & Sechrest, LLP
        325 N. Saint Paul Street, Suite 2300
        Dallas, Texas 75201
        (214) 981-9200 (Telephone)
        (214) 981-9203 (Facsimile)
        Attorney for Plaintiff

                                               Isl Stephen A. Melendi
                                               Stephen A. Melendi




DEFENDANT COLONY INSURANCE COMPANY'S ORIGINAL ANSWER                                       Page 2




                                                                                      APP. 021
